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                        In the United States District Court
                             for the District of Kansas



United States of America,
              Plaintiff,

v.                                                   Case No. 22-10054-01 JWB

Tremayne M. Darkis,
            Defendant.


 Defendant’s Objection to the Government’s Second Motion to Extend the
                           Response Deadline


     Mr. Darkis federal indictment alleges he committed crimes in Labette, Kansas in

June of 2020, more than three years ago. After being charged by the state of

Kansas, Mr. Darkis was ultimately federally indicted by a grand jury in August of

2022, for the same alleged conduct. Mr. Darkis has been in plea negotiations with

the government but has also filed a motion to suppress his statements.

     The government had an initial deadline of three weeks to respond. Mr. Darkis

did not object to the government’s first request for an extension, for several reasons.

The parties remain in negotiations. Mr. Darkis was given an extra few days to file

his motion, and the parties were also exchanging additional discovery.

     The government now requests an additional three weeks to respond. Mr. Darkis

objects to this additional period of time.
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   While Mr. Darkis remains committed to the plea offer he has submitted to the

government, he must object to further continuances while he remains in custody on

the case.

                                         Respectfully submitted,


                                         s/Jennifer Amyx
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                                 Certificate of Service

   I hereby certify that I electronically filed the foregoing with the Clerk of the

Court on September 5, 2023, by using the CM/ECF system, which will send a notice

of electronic filing to the following:

       Oladotun Odeyemi
       Assistant United States Attorney
       Ola.Odeyemi@usdoj.gov

                                         s/Jennifer Amyx
                                         JENNIFER AMYX, #24260




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